       Case 1:10-cr-03383-WJ         Document 392      Filed 09/28/12     Page 1 of 12




                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO
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UNITED STATES OF AMERICA,

               Plaintiff,

        vs.                                                CRIMINAL NO.: 10-cr-3383 WJ

ARMANDO GUTIERREZ,

               Defendant.

                              MEMORANDUM OPINION AND ORDER
                            RULING ON PENDING MOTIONS IN LIMINE

        THIS MATTER comes before the Court upon the following motions in limine pending in

this case:

        United States’ Motions in Limine, filed September 7, 2012 (Doc. 328);

        Defendant Gutierrez’ First Motion in Limine to Preclude Opinion and /or Expert
        Testimony from any Witness not Previously Disclosed as a Possible Expert Witness,
        filed September 10, 2012 (Doc. 334);

        Defendant Gutierrez’ Second Motion in Limine to Exclude Evidence of the New Mexico
        State Criminal Case, filed September 10, 2012 (Doc. 335);

        Defendant Gutierrez’ Third Motion in Limine to Preclude Testimony not Within Personal
        Knowledge of Government’s Witnesses, filed September 10, 2012 (Doc. 336);

        Defendant Kupfer’s First Motion in Limine to Preclude Irrelevant and Cumulative
        Testimony & Testimony not within the Personal Knowledge of Witnesses, filed
        September 10, 2012 (Doc. 338);

        Defendant Kupfer’s Second Motion in Limine to Preclude Unqualified and Inappropriate
        Opinion Testimony, filed September 10, 2012 (Doc. 339); and

        Defendant Kupfer’s Third Motion in Limine Regarding Government’s Proposed Exhibits
        11 & 12, filed September 10, 2012 (Doc. 340).
        Case 1:10-cr-03383-WJ               Document 392           Filed 09/28/12         Page 2 of 12




I.      U.S. Motions in Limine, (Doc. 328)

       (a) The Court should not allow any reference to the punishment the Defendants may
face upon conviction.
       Defendant has not filed a response to the motion, and none is necessary. It is clear that

reference to the possible sentence facing a defendant is inappropriate. See United States v.

Greer, 620 F.2d 1383, 1384 (10th Cir. 1980) (The duty of imposing a sentence rests solely upon

this Court and is not a proper consideration for the jury).; U.S. v. Parrish, 925 F.2d 1293, 1299

(10th Cir. 1991), abrogated on other grounds by United States v. Wacker, 72 F.3d 1453 (10th

Cir. 1996) (“Unless a statute specifically requires jury participation in determining punishment,

the jury shall not be informed of the possible penalties.”). Accordingly, the Government’s

motion is GRANTED.

       (b) The Court Should Not Allow Any Reference to the Collateral Consequences of
the Allegations.

        The Government seeks to exclude Defendants from introducing evidence of their

financial difficulties (e.g., filing for bankruptcy) because such evidence is irrelevant to the

elements of the offense and to any defense. This motion is therefore GRANTED.

II. Defendant Gutierrez’ First Motion in Limine to Preclude Opinion and /or Expert
Testimony from any Witness not Previously Disclosed as a Possible Expert Witness (Doc.
334).

        Defendants take issue with numerous witnesses included on the Government’s latest

witness list who were not disclosed as experts and move to exclude them.1 They claim that

testimony regarding agency protocol and policies and procedures are “specialized knowledge”

which requires the opinion of an expert. The Government disagrees with this position,



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  These witnesses include (but are not limited to): Anna Anaya, Ricardo Campos, Roberta Chambers, Bernice
Gonzales, Denise Lamb, Ernie Marquez, Theresa Martinez, Martin Mathisen, Ernest Ortega, Lisa Ortiz, Elizabeth
Perry, Kathy Rubio, Brian Sanderoff, Zach Shandler, Sam Thompson, Dave Thomson, Hamish Thomson, Evangeline
Tinajero, Don Francisco Trujillo, and Patricia Vigil. Many of these individuals worked for the Secretary of State.

                                                         2
       Case 1:10-cr-03383-WJ          Document 392        Filed 09/28/12      Page 3 of 12




contending that agency employees typically may offer opinions about agency policies and

practices subject under Fed.R.Evid. 701.

       Under Fed. R. Evid. 701, the testimony of a lay witness “in the form of opinions or

inferences” is admissible if those opinions or inferences “are (a) rationally based on the

perception of the witness and (b) helpful to a clear understanding of the witness' testimony or the

determination of a fact in issue.” The rules of evidence distinguish between the nature of the

testimony. See U.S. v. Caballero, 277 F.3d 125, 1247 (10th Cir. 2002) (mere fact that witness is

expert does not automatically require application of Rule 702, since nature of testimony

determines whether Rule 702 applies). Lay witnesses may express opinions only from personal

knowledge and first-hand experience, not on hypothetical situations. See Wilburn v. Maritrans

GP Inc., 139 F.3d 350, 356 (3rd Cir. 1998) (essential difference between lay and expert opinion

testimony is that qualified experts may answer hypothetical questions); Certain Underwriters at

Lloyd’s v. Sinkovich, 232 F.3d 200, 203 (4th Cir. 2000 (experts may respond to hypothetical

questions, but lay opinions must be based on personal knowledge and first-hand experience).

Also, experts may base opinions on their “scientific, technical, or other specialized knowledge”

while lay witnesses may not. Id.

       Many of the witnesses challenged by Defendant were employed by the Office of the

Secretary of State. Thus, the question is whether any opinions they have formed are based on

specialized knowledge. Rule 701 “does not permit a lay witness to express an opinion as to

matters which are beyond the realm of common experience and which require the special skill

and knowledge of an expert witness.” Randolph v. Collectramatic, Inc., 590 F.2d 844, 846 (10th

Cir. 1979) (witness’s opinion fell outside category of lay opinion because it was based on

technical or specialized knowledge relating to a post-fire estimate of pre-fire building).



                                                 3
       Case 1:10-cr-03383-WJ          Document 392         Filed 09/28/12      Page 4 of 12




       The Government claims it will be offering foundation for the testimony on each of these

witnesses as consistent with Rule 701, and contends that Defendant should not be allowed to

obtain a blanket exclusion of these witnesses before that time. The Court agrees and therefore

DENIES Defendant Gutierrez’ motion at this time, until the Government has the opportunity to

make the requisite showing for a foundation under Rule 701.

III. Defendant Gutierrez’ Second Motion in Limine to Exclude Evidence of the NM State
Criminal Case (Doc. 335).

       Defendant Gutierrez moves to prohibit the Government from introducing at trial the fact

that Mr. Gutierrez is charged in a New Mexico state court case, D-202-CR-2009-04020, State of

New Mexico v. Armando Gutierrez. The state court case charges Mr. Gutierrez with fifty counts

for various state crimes in the Second Judicial District Court of the State of New Mexico.

Defendant contends that such any minimally probative value of such evidence is substantially

outweighed by the danger of unfair prejudice and confusion under Fed.R.Evid. 403. Defendant

also claims that if admitted, evidence of the fact that Mr. Gutierrez is charged with fifty (50)

counts in the state court case would “tend to affect adversely the jury’s attitude toward [Mr.

Gutierrez] wholly apart from its judgment as to [his] guilt or innocence of the crime charged.”

U.S. v. Tan,, 254 F.3d 1204, 1212 (10th Cir. 2001).

       The Government maintains that the evidence of the state court indictment is relevant, and

seeks to include this evidence on two grounds. First, the Government contends that the evidence

is relevant to the bias of Rebecca Vigil-Giron, should she testify in this case. Second, the

Government argues that evidence of the fact that a state investigation was underway is

admissible because it is relevant to the timing of the production of certain documents produced

pursuant to State grand jury subpoenas.




                                                  4
       Case 1:10-cr-03383-WJ           Document 392        Filed 09/28/12      Page 5 of 12




       The Court agrees with the first reason, but not the second. Ms. Vigil-Giron is charged

with Defendants Gutierrez and Kupfer in a State indictment arising from the same facts that form

the basis of the Federal indictment. Thus, it is not a stretch to state that Ms. Vigil-Giron is

motivated to testify favorably for the Defendants: the exoneration of Defendants in the federal

case may have considerable impact on the State’s decision on whether to continue its prosecution

of Ms. Vigil-Giron. Therefore, the challenged evidence is certainly relevant to bias, and is

admissible should Ms. Vigil-Giron testify. U.S. v. DeSoto, 940 F.2d 626,630 (10th Cir. 1991)

(questions directed at revealing bias are permissible basis of impeachment, and are relevant and

admissible) (citing U.S. v Abel, 469 U.S. 45, 50-51 (1984)).

       The Government also contends that evidence of the State indictment is relevant to the

timing of the production of certain documents by the Defendants pursuant to Federal and State

grand jury subpoenas. The documents in question reveal the connection between Kupfer

Consulting (“KC”) and Armando Guttierez and Associates (“AGA”) under the Help

America Vote Act (“HAVA”). According to the Government, Mr. Gutierrez failed to produce

these documents when requested by the Election Assistance Commission during a 2007 audit,

and produced them only to ward off the threat of a State indictment. Thus, the Government

contends that evidence of dates within the state prosecution is essential for the jury to understand

the context and import of the timing of the document production. The Court agrees that the

documents which were produced are relevant, but does not agree that the date of production is

sufficiently relevant or material to withstand analysis under Fed.R.Evid. 403. The Court

understands the Government’s motivation for making the jury aware of the pending State court

charges; an indictment containing fifty counts would have a potential impact in convincing the

jury that “where there is smoke, there is fire.” However, that is exactly the reason why, without



                                                  5
        Case 1:10-cr-03383-WJ              Document 392           Filed 09/28/12         Page 6 of 12




more (for example, a showing of bias on the part of Ms. Vigil-Giron as a witness), evidence of

the State court case is not admissible. See U.S. v. Tan,, 254 F.3d at 1211 (“Undue prejudice in

the Rule 403 context means an undue tendency to suggest decision on an improper basis,

commonly, though not necessarily, an emotional one.”).

        Accordingly, Defendant’s motion is GRANTED IN PART and DENIED IN PART. The

Government is precluded from introducing evidence of the fact that Mr. Gutierrez is charged in

New Mexico state case D-202-CR-2009-04029, State of New Mexico v. Armando Guttierez,

unless Ms. Rebecca Vigil-Giron testifies, in which case the evidence is admissible for the sole

purpose of demonstrating potential bias on the part of Ms. Vigil-Giron.2

IV. Defendant Gutierrez’ Third Motion in Limine to Preclude Testimony not Within
Personal Knowledge of Government’s Witnesses (Doc. 336).

        Defendant Gutierrez requests that the Court prohibit the Government from eliciting

testimony from witnesses which is not based upon the personal knowledge of the witnesses and/or

which is guess, speculation, opinion, or conjecture. Defendant cites to specific statements made by

various witnesses (most of whom were employed by former New Mexico Secretary of State Rebecca

Vigil-Giron) which are arguably uncertain or potentially speculative.3

        The Court declines to make evidentiary rulings on testimony which has not yet been

given. The Government is not required to provide Defendants at this point with a script of

questions and answers for each witness prior to trial. The Court agrees with the Government on

this motion, and DENIES the motion as MOOT at this point.

V. Defendant Kupfer’s First Motion in Limine to Preclude Irrelevant and Cumulative
Testimony & Testimony not within the Personal Knowledge of Witnesses (Doc. 338).



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  Defendants may request and present to the Court a limiting instruction to this effect.
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  The motion does not include specific references to the statements, nor are any of them presented in any sort of
context. Thus, the Court cannot conclude whether these statements are, in fact, speculative.

                                                        6
       Case 1:10-cr-03383-WJ          Document 392         Filed 09/28/12      Page 7 of 12




       This motion is identical to the previous one, except that it is filed by Defendant Kupfer

instead of Defendant Gutierrez. Defendant Kupfer requests the Court to exclude certain

testimony and witnesses as irrelevant and/or unnecessarily cumulative. According to the motion,

the witnesses include individuals who will testify as to the employment history of Elizabeth

Kupfer with the New Mexico Attorney General’s Office; witnesses whose testimony appears to

address Defendant Gutierrez’ interactions with employees and business practices for contracts

unconnected to the HAVA media contract at issue; and witnesses who may testify concerning

budgetary matters performed by Elizabeth Kupfer, who is not part of the HAVA case being tried.

Defendant contends that the subject matter of the testimony of these witnesses is not relevant to

the HAVA case, and also that testimony of several witnesses on the same area is cumulative.

       It would appear that matters which are either irrelevant or extraneous to the charges being

tried would indeed be precluded. However, the Government states that it does not intend to ask

questions on all matters covered during prior witness interviews or regarding grand jury

testimony. The Court declines to give an advance directive on what areas the Government will

be allowed to examine their witnesses, and will address such questions as they come up during

trial. Thus, the motion is DENIED as PREMATURE and MOOT.

VI.   Defendant Kupfer’s Second Motion in Limine to Preclude Unqualified and
Inappropriate Opinion Testimony (Doc. 339).

       Defendant moves to preclude opinion testimony from several witnesses. Defendant’s

objections belong to one of two categories, either that the Government’s disclosure about the

witness insufficiently provides a basis for the witness’s qualifications, or that the witness’s




                                                  7
        Case 1:10-cr-03383-WJ               Document 392           Filed 09/28/12         Page 8 of 12




testimony impermissibly usurps the jury’s function. The Court addresses each of the challenged

witnesses below.4

A.      Joseph M. Ansnick, Curtis Crider and Roger LaRouche

        Defendant challenges the qualifications of these individuals to offer opinions regarding

New Mexico procurement procedures. Defendant concedes that Mr. Ansnick, Mr. Crider and

Mr. LaRouche are experts in federal grant and contract auditing, but that there is insufficient

information in the Government disclosures and in their curriculum vitae regarding their

experience relating to State’s procurement code. Thus, Defendant contends that these

individuals are unqualified and their opinions are inadmissible.

        The Government assures the Court that the field of federal grant and contract auditing

requires a familiarity with contract terms, local laws and administrative codes for whatever

locality the audit involves. The Government contends that Defendant is free to cross-examine

these witnesses regarding whether they have the requisite familiarity with New Mexico rules and

regulations.

        The Court agrees that exclusion of these auditors’ opinions is not warranted. There may

be overlap in certain fields which allow the development of sufficient expertise in a specific

subject matter. Cmp. Gardner v. Gen. Motors Corp., 507 F.2d 525, 528 (10th Cir. 1974)(finding

that two experts were qualified even though one may hold more experience and training in the

specifics of the limited field of expertise considered) On the other hand, the fact that a witness is

qualified as an expert in one field does not necessarily make him an expert in a closely related


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  Although neither party premises its arguments under Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579
(1993) , the Court is mindful of its gatekeeping function under Daubert as well as under Fed.R.Evid.R.702.
However, there does not appear to be any objection to the reliability or relevance of the testimony of the
challenged witnesses. Also, Defendant’s objection as to the witnesses’ qualifications arise solely from the alleged
insufficiency of the Government’s disclosure. Thus, the Court sees no need for a Daubert hearing on any of the
issues raised in this motion.

                                                         8
        Case 1:10-cr-03383-WJ            Document 392           Filed 09/28/12        Page 9 of 12




field. See Ralson v. Smith & Nephew Richards, Inc., 275 F.3d 969 (10th Cir. 2001). In this

situation, the Court finds that the Government’s argument is reasonable, and the Court finds for

now that that these witnesses have the requisite expertise to give an opinion relating to contracts

formed under New Mexico’s procurement code. Defendant will have an opportunity to prove

otherwise during cross-examination of these witnesses during the time when the Government

will be required to lay a foundation on this issue. Thus, this portion of Defendant’s motion is

DENIED.

B.      Testimony as to Ultimate Issue

        Defendant objects to the testimony of Messrs. Ansnick, Crider, LaRouche, Jack Emmons

and Paul Kippert as usurping the role of the jury because the testimony relates to the ultimate

fact at issue, namely, regarding the validity of portions of the contract, and whether AGA

fraudulently received money under the contract.5 This objection is generally without merit. Rule

704 of the Federal Rules of Evidence allows an expert to offer opinion evidence even if it

Aembraces an ultimate issue to be determined by the trier of fact.” Fed.R.Evid.704. However,

the Rule does not allow the admission of all such opinion evidence that merely tells the jury

what result they should reach. Fed.R.Evid.704 adv. comm. note.

        Expert testimony of this type is often excluded on the grounds that it states a legal

conclusion, usurps the function of the jury in deciding the facts, or interferes with the function of

the judge in instructing the jury on the law. U.S. v. Simpson, 7 F.3d 186, 188 (10th Cir. 1993)

(citing Specht v. Jensen, 853 F.2d 805, 808 (10th Cir.1988), cert. denied, 488 U.S. 1008

(1989)).U.S. v. Dazey, 403 F.3d 1147, 1171 (10th Cir. 2005) (an expert may not simply tell the

jury what result it should reach without providing any explanation of the criteria on which that

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  The Government responds to Defendant’s objection as to Mr. Kippert, but omits any response regarding Mr.
Emmons. However, the Court assumes that because the objections are similar as to both witnesses, the
Government’s position would be the same for Mr. Emmons.

                                                      9
      Case 1:10-cr-03383-WJ           Document 392         Filed 09/28/12      Page 10 of 12




opinion is based or any means by which the jury can exercise independent judgment). Thus, the

critical question is whether the expert adequately explores the criteria upon which the opinion is

based so that the jury has an independent means by which it can reach its own conclusion or give

proper weight to the expert testimony. Simpson, 7 F.3d at 188; cf Karns v. Emerson Elec. Co.,

817 F.2d 1452, 1459 (10th Cir.1987) (expert explained bases for opinion in sufficient detail to

allow jury to make independent judgment).

       The Government states that the auditors’ testimony will not touch on issues concerning

Defendants’ state of mind. According to the Government, these witnesses will testify that they

examined costs and payments under the contract, and the numbers do not add up. The Court

relies on the Government’s representation that these witnesses will confine their testimony to

objective facts and conclusions based on accounting principles, and accordingly, DENIES this

portion of Defendant’s motion.

C.     Cumulative Testimony

       Defendant contends that the testimony of Mr. Ansnick, Mr. Crider and LaRouche is

cumulative and tangential. The Government states that the three auditors worked as a team in

the audit of the contract at issue in this case, but that each possesses discrete factual testimony

regarding interviews and document production which make it necessary for each witness to

present his testimony. The Court sees the potential for cumulative testimony with regard to these

witnesses, but agrees with the Government that the appropriate time for the Court to consider an

objection is during trial. Until then, the motion is GRANTED to the extent that the Government

is cautioned prior to trial to minimize such cumulative testimony, and DENIED to the extent that

the Court will consider Defendant’s objections formally during trial.

D.     Misleading Statement



                                                  10
       Case 1:10-cr-03383-WJ             Document 392           Filed 09/28/12        Page 11 of 12




        Defendant objects to the testimony of Messrs. Ansnick, Crider and LaRouche that “the

entire state contract with AGA was disallowed as a result of his audit.” (Doc. 229, Govt’s Notice

of Intention to Offer Expert Testimony, at 3, 4 & 6). Defendant claims this statement is

misleading in that the audit did not disallow the entire state contract with AGA, but that rather

the State of New Mexico agreed to use state funds instead of federal funds for the AGA contract.

The Court agrees with the Government that if Defendant disagrees with the nuances of certain

statements made by the Government’s witnesses, cross-examination is the proper way to express

an objection. Thus, this motion is DENIED on these grounds as well.

VII.    Defendant Kupfer’s Third Motion in Limine Regarding Government’s Proposed

Exhibits 11 & 12 (Doc. 340).

        Defendant Kupfer seeks to exclude Government Exhibits 11 and 12, which are,

respectively, the New Mexico Attorney General report and calculations regarding AGA/HAVA,

and the Election Assistance Commission’s report and calculations. These are extremely lengthy

and unredacted documents which Defendant contends should be excluded until such time as the

Government specifies which portions it will seek to introduce because Defendant is not

otherwise in a position to offer evidentiary challenges to this proposed evidence.

        The Court DENIES this motion, based on the Government’s representation that it does

not intend to offer either exhibit into evidence in its case-in-chief, and has included these exhibits

for identification purposes only.

        SO ORDERED.6




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  Other pending motions will be taken up by the Court at the pretrial conference scheduled October 9, 2012. See
Doc. 134.

                                                      11
Case 1:10-cr-03383-WJ   Document 392   Filed 09/28/12   Page 12 of 12




                                     ________________________________
                                     UNITED STATES DISTRICT JUDGE




                                12
